         Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 1 of 23


                                        Processing Score:   Processing Score: Processing Score:
Date         Area            District   Inbound Ballot      Outbound Ballot    Outbound Non-
10/24/2020   Nation                                  94.73%             94.12%             95.99%
10/26/2020   Nation                                  93.40%             95.32%             57.13%
10/27/2020   Nation                                  94.82%             91.51%             34.70%
10/28/2020   Nation                                  97.06%             97.03%             76.67%
10/29/2020   Nation                                  95.01%             94.67%             75.61%
10/30/2020   Nation                                  93.04%             90.84%             69.16%
10/31/2020   Nation                                  90.58%             80.25%             63.64%
 11/2/2020   Nation                                  89.59%             77.15%             81.65%
 11/3/2020   Nation                                  93.25%              5.57%             33.86%

10/24/2020   Capital Metro                          88.75%            51.88%              75.26%
10/24/2020   Eastern                                91.39%            98.33%              75.30%
10/24/2020   Great Lakes                            88.55%            71.40%              94.70%
10/24/2020   Northeast                              95.16%            99.10%              95.91%
10/24/2020   Pacific                                98.28%            96.09%              99.88%
10/24/2020   Southern                               93.72%            57.57%              95.46%
10/24/2020   Western                                95.01%            78.34%              98.85%
10/26/2020   Capital Metro                          89.52%            85.10%              54.26%
10/26/2020   Eastern                                90.72%            98.45%              12.25%
10/26/2020   Great Lakes                            88.39%            77.52%              97.71%
10/26/2020   Northeast                              95.83%            97.47%              49.85%
10/26/2020   Pacific                                97.24%            93.97%              95.93%
10/26/2020   Southern                               90.71%            68.15%              84.79%
10/26/2020   Western                                93.37%            80.42%              97.65%
10/27/2020   Capital Metro                          74.40%            65.37%              46.74%
10/27/2020   Eastern                                92.25%            92.07%               2.58%
10/27/2020   Great Lakes                            78.80%            11.47%              32.86%
10/27/2020   Northeast                              95.04%            99.92%              60.89%
10/27/2020   Pacific                                98.84%            64.13%              88.67%
10/27/2020   Southern                               92.96%            85.77%              78.74%
10/27/2020   Western                                95.78%            28.35%              55.48%
10/28/2020   Capital Metro                          93.93%            52.28%              82.33%
10/28/2020   Eastern                                95.30%            96.77%              11.08%
10/28/2020   Great Lakes                            94.19%            15.21%              96.88%
10/28/2020   Northeast                              97.26%            99.34%              18.21%
10/28/2020   Pacific                                99.18%            96.18%              89.82%
10/28/2020   Southern                               95.04%            85.20%              94.11%
10/28/2020   Western                                97.22%            81.68%              48.00%
10/29/2020   Capital Metro                          90.65%            34.31%              74.30%
10/29/2020   Eastern                                88.17%            99.58%               5.82%
10/29/2020   Great Lakes                            92.80%            95.44%              95.68%
10/29/2020   Northeast                              95.78%            86.14%              72.62%
10/29/2020   Pacific                                98.40%            96.08%              76.71%
10/29/2020   Southern                               96.57%            53.07%              92.92%
10/29/2020   Western                                96.04%            88.66%              77.45%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 2 of 23


10/29/2020   Nation                        95.01%        94.67%          75.61%
10/30/2020   Capital Metro                 86.28%         3.15%          68.59%
10/30/2020   Eastern                       88.09%        75.26%          50.12%
10/30/2020   Great Lakes                   86.88%        83.20%          50.04%
10/30/2020   Northeast                     94.47%        95.63%          96.60%
10/30/2020   Pacific                       97.98%        97.72%          78.56%
10/30/2020   Southern                      89.03%        88.34%          86.47%
10/30/2020   Western                       93.40%        88.70%          83.10%
10/31/2020   Capital Metro                 78.98%         2.56%          65.62%
10/31/2020   Eastern                       84.31%        96.24%          35.18%
10/31/2020   Great Lakes                   85.57%        70.48%          66.10%
10/31/2020   Northeast                     93.52%        15.41%          88.73%
10/31/2020   Pacific                       97.52%        98.54%          56.46%
10/31/2020   Southern                      85.80%        16.44%          76.97%
10/31/2020   Western                       89.29%        51.79%          73.87%
 11/2/2020   Capital Metro                 81.75%         9.95%          83.17%
 11/2/2020   Eastern                       83.92%        84.39%          57.53%
 11/2/2020   Great Lakes                   81.47%         3.12%          75.14%
 11/2/2020   Northeast                     93.90%        96.45%          87.74%
 11/2/2020   Pacific                       95.99%        30.47%          95.92%
 11/2/2020   Southern                      83.68%        17.59%          82.38%
 11/2/2020   Western                       89.86%         7.85%          74.92%
 11/3/2020   Capital Metro                 84.62%         2.99%          56.93%
 11/3/2020   Eastern                       84.33%         2.78%           9.17%
 11/3/2020   Great Lakes                   78.81%        14.29%          15.64%
 11/3/2020   Northeast                     94.43%        16.00%          29.81%
 11/3/2020   Pacific                       98.28%         4.17%          50.36%
 11/3/2020   Southern                      84.22%         9.88%           6.06%
 11/3/2020   Western                       91.75%         2.79%          70.15%

10/24/2020 Capital Metro     Atlanta       84.89%         1.75%          24.40%
10/24/2020 Capital Metro     Baltimore     84.21%        96.86%          70.58%
10/24/2020 Capital Metro     Capital       92.98%        49.43%          91.03%
                             Greater S
10/24/2020 Capital Metro     Carolina      92.25%        37.23%          12.54%

10/24/2020 Capital Metro     Greensboro    83.60%        97.34%          89.51%
                             Mid-
10/24/2020 Capital Metro     Carolinas     90.56%        91.14%          61.96%
                             Norther
10/24/2020 Capital Metro     Virginia      91.55%        44.44%          95.03%
10/24/2020 Capital Metro     Richmond      92.46%        84.75%          92.25%

10/24/2020 Eastern           Appalachian   58.85%        68.57%          68.22%
                             Central
                             Pennsylvani
10/24/2020 Eastern           a             78.46%         1.33%              0.77%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 3 of 23


10/29/2020 Nation                         95.01%         94.67%          75.61%

10/24/2020 Eastern         Kentuckiana    37.60%         61.11%          99.89%
                           Norther
10/24/2020 Eastern         Ohio           91.84%          4.84%          71.23%

10/24/2020 Eastern         Ohio Valley    95.08%         95.08%          89.40%
                           Philadelphia
10/24/2020 Eastern         Metropo        91.55%         39.90%              4.64%

10/24/2020 Eastern         South Jersey   95.54%         99.97%          47.19%
10/24/2020 Eastern         Tennessee      88.74%         39.52%          12.64%
                           Western
10/24/2020 Eastern         New York       96.20%         57.14%          23.81%
                           Western
                           Pennsylvani
10/24/2020 Eastern         a              98.08%         98.13%          36.03%
                           Central
10/24/2020   Great Lakes   Illinois       89.89%          2.76%          99.08%
10/24/2020   Great Lakes   Chicago        90.71%         81.36%          10.30%
10/24/2020   Great Lakes   Detroit        74.05%         80.12%           0.09%
10/24/2020   Great Lakes   Gateway        93.46%         83.94%          99.99%
                           Greater
10/24/2020 Great Lakes     Indiana        72.41%         78.40%          96.32%
                           Greater
10/24/2020   Great Lakes   Michigan       91.66%         83.59%          97.25%
10/24/2020   Great Lakes   Lakeland       81.73%         27.10%          99.08%
10/24/2020   Northeast     Albany         95.19%         66.67%          79.41%
10/24/2020   Northeast     Caribbean      99.63%        100.00%          80.00%
                           Connecticut
10/24/2020 Northeast       Valley         95.55%         98.84%          79.54%
                           Greater
10/24/2020 Northeast       Boston         96.03%         87.07%          99.45%

10/24/2020 Northeast       Long Island    96.61%         83.33%          92.47%
10/24/2020 Northeast       New York       91.15%         90.57%          34.88%
                           Northern
                           New
10/24/2020 Northeast       England        76.56%         81.82%          98.93%

                           Northern
10/24/2020 Northeast       New Jersey     96.50%         99.58%          99.85%
10/24/2020 Northeast       Triboro        83.09%         73.61%          11.38%

10/24/2020 Northeast       Westchester    92.76%         81.25%          93.98%
10/24/2020 Pacific         Bay-Valley     98.43%         21.60%          91.10%
10/24/2020 Pacific         Honolulu       97.22%         32.31%          62.24%
           Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 4 of 23


10/29/2020 Nation                            95.01%       94.67%          75.61%

10/24/2020 Pacific           Los Angeles     98.59%       79.89%          99.89%

10/24/2020 Pacific           Sacramento      96.75%       81.39%          97.92%
10/24/2020 Pacific           San Diego       98.85%       99.70%          98.30%
                             San
10/24/2020 Pacific           Francisco       98.32%       40.48%          98.31%
10/24/2020 Pacific           Santa Ana       99.02%       96.62%          99.97%
                             Sierra
10/24/2020   Pacific         Coastal         98.49%       99.29%          99.99%
10/24/2020   Southern        Alabama         65.65%       34.55%          51.72%
10/24/2020   Southern        Arkansas        91.46%       45.16%          68.00%
10/24/2020   Southern        Dallas          94.59%       69.57%          36.10%
10/24/2020   Southern        Ft. Worth       90.04%       97.38%          31.22%

10/24/2020   Southern        Gulf Atlantic   90.81%        3.61%          99.10%
10/24/2020   Southern        Houston         84.64%       19.51%           5.63%
10/24/2020   Southern        Louisiana       77.18%       32.00%           8.05%
10/24/2020   Southern        Mississippi     85.50%       36.84%           9.85%
10/24/2020   Southern        Oklahoma        75.32%       70.00%          99.94%
10/24/2020   Southern        Rio Grande      91.09%       55.56%          99.55%
                             South
10/24/2020   Southern        Florida         92.91%       22.63%          51.99%
10/24/2020   Southern        Suncoast        96.63%       60.56%          85.74%
10/24/2020   Western         Alaska          79.59%       36.00%          64.41%
10/24/2020   Western         Arizona         97.56%       79.09%          99.86%
                             Central
10/24/2020 Western           Plains          96.72%       68.57%          99.99%
                             Colorado/W
10/24/2020 Western           yoming          69.94%       66.44%          91.90%
10/24/2020 Western           Dakotas         96.23%       29.63%          99.75%
10/24/2020 Western           Hawkeye         95.25%       47.73%          99.46%
                             Mid-
10/24/2020 Western           Americas        93.81%       69.09%          99.99%
                             Nevada
10/24/2020 Western           Sierra          97.86%       67.93%          99.78%
10/24/2020 Western           Northland       97.30%       15.76%          96.61%
10/24/2020 Western           Portland        92.49%       15.38%          62.20%
                             Salt Lake
10/24/2020   Western         City            98.78%       96.65%          94.79%
10/24/2020   Western         Seattle         97.75%        6.10%          32.89%
10/26/2020   Capital Metro   Atlanta         89.44%        1.66%          42.25%
10/26/2020   Capital Metro   Baltimore       91.27%       90.56%          38.16%
10/26/2020   Capital Metro   Capital         93.21%       99.74%          89.46%
                             Greater S
10/26/2020 Capital Metro     Carolina        87.10%       56.44%          83.47%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 5 of 23


10/29/2020 Nation                         95.01%         94.67%          75.61%

10/26/2020 Capital Metro   Greensboro     82.71%         97.49%          74.90%
                           Mid-
10/26/2020 Capital Metro   Carolinas      86.12%         97.46%          35.10%
                           Norther
10/26/2020 Capital Metro   Virginia       93.50%         85.62%          77.21%
10/26/2020 Capital Metro   Richmond       91.18%         34.64%          96.83%

10/26/2020 Eastern         Appalachian    74.89%         66.67%          96.71%
                           Central
                           Pennsylvani
10/26/2020 Eastern         a              78.76%          7.65%              1.61%

10/26/2020 Eastern         Kentuckiana    64.55%         78.38%          99.77%
                           Norther
10/26/2020 Eastern         Ohio           92.64%         35.79%          40.15%

10/26/2020 Eastern         Ohio Valley    94.80%         22.15%          52.91%
                           Philadelphia
10/26/2020 Eastern         Metropo        93.03%         95.05%              0.07%

10/26/2020 Eastern         South Jersey   90.88%         99.96%           3.25%
10/26/2020 Eastern         Tennessee      92.82%         79.06%          96.77%
                           Western
10/26/2020 Eastern         New York       96.60%         95.74%          84.23%
                           Western
                           Pennsylvani
10/26/2020 Eastern         a              97.26%         25.27%          83.43%
                           Central
10/26/2020   Great Lakes   Illinois       94.36%         78.17%          99.80%
10/26/2020   Great Lakes   Chicago        87.63%         76.47%          79.30%
10/26/2020   Great Lakes   Detroit        73.60%         47.37%          24.35%
10/26/2020   Great Lakes   Gateway        93.18%         98.79%          99.90%
                           Greater
10/26/2020 Great Lakes     Indiana        79.72%         92.38%          94.74%
                           Greater
10/26/2020   Great Lakes   Michigan       87.29%          7.26%          99.88%
10/26/2020   Great Lakes   Lakeland       87.44%         12.82%          90.89%
10/26/2020   Northeast     Albany         96.32%         93.33%          64.83%
10/26/2020   Northeast     Caribbean      98.67%         32.26%          98.67%
                           Connecticut
10/26/2020 Northeast       Valley         94.79%         98.08%          76.79%
                           Greater
10/26/2020 Northeast       Boston         96.96%         88.06%          78.30%

10/26/2020 Northeast       Long Island    96.02%         90.48%          77.86%
           Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 6 of 23


10/29/2020 Nation                          95.01%         94.67%          75.61%
10/26/2020 Northeast    New York           96.49%         94.10%          27.30%
                        Northern
                        New
10/26/2020 Northeast    England            84.41%         91.49%          94.40%

                        Northern
10/26/2020 Northeast    New Jersey         96.76%         97.49%          11.17%
10/26/2020 Northeast    Triboro            89.13%         94.01%          14.31%

10/26/2020 Northeast    Westchester        94.53%         97.14%          80.16%
10/26/2020 Pacific      Bay-Valley         96.85%         43.23%          98.01%
10/26/2020 Pacific      Honolulu           94.72%         63.16%          99.49%

10/26/2020 Pacific      Los Angeles        96.39%         73.38%          92.45%

10/26/2020 Pacific      Sacramento         97.07%         95.69%          82.15%
10/26/2020 Pacific      San Diego          98.07%         81.85%          99.34%
                        San
10/26/2020 Pacific      Francisco          97.83%         77.97%          99.54%
10/26/2020 Pacific      Santa Ana          97.65%         98.78%          99.34%
                        Sierra
10/26/2020   Pacific    Coastal            97.96%         87.07%          94.81%
10/26/2020   Southern   Alabama            74.19%         58.06%          85.35%
10/26/2020   Southern   Arkansas           91.95%         87.50%          98.28%
10/26/2020   Southern   Dallas             91.98%         84.76%          85.98%
10/26/2020   Southern   Ft. Worth          88.68%         15.02%          47.56%

10/26/2020   Southern   Gulf Atlantic      85.83%         10.24%          27.37%
10/26/2020   Southern   Houston            90.23%         84.27%          97.45%
10/26/2020   Southern   Louisiana          74.03%         55.88%          98.33%
10/26/2020   Southern   Mississippi        73.93%         67.44%          82.13%
10/26/2020   Southern   Oklahoma           77.92%         89.61%          99.74%
10/26/2020   Southern   Rio Grande         87.74%         85.09%          92.88%
                        South
10/26/2020   Southern   Florida            90.40%         80.00%          87.23%
10/26/2020   Southern   Suncoast           94.38%         72.16%          92.89%
10/26/2020   Western    Alaska             82.54%         62.50%          66.67%
10/26/2020   Western    Arizona            97.90%         83.69%          92.14%
                        Central
10/26/2020 Western      Plains             90.81%         28.49%          99.69%
                        Colorado/W
10/26/2020 Western      yoming             61.45%         48.01%          67.95%
10/26/2020 Western      Dakotas            94.98%         55.00%          93.61%
10/26/2020 Western      Hawkeye            97.57%         81.36%          99.83%
                        Mid-
10/26/2020 Western      Americas           86.68%         81.65%          99.88%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 7 of 23


10/29/2020 Nation                           95.01%       94.67%          75.61%
                             Nevada
10/26/2020 Western           Sierra         87.15%       60.98%          98.58%
10/26/2020 Western           Northland      92.23%       85.44%          97.58%
10/26/2020 Western           Portland       97.24%       63.41%          61.84%
                             Salt Lake
10/26/2020   Western         City           97.83%       89.11%          94.56%
10/26/2020   Western         Seattle        96.26%       12.79%          97.17%
10/27/2020   Capital Metro   Atlanta        39.68%        0.36%           9.26%
10/27/2020   Capital Metro   Baltimore      85.04%       66.10%           2.62%
10/27/2020   Capital Metro   Capital        88.95%       99.95%          11.05%
                             Greater S
10/27/2020 Capital Metro     Carolina       79.98%       64.15%          10.91%

10/27/2020 Capital Metro     Greensboro     75.50%       98.44%          42.92%
                             Mid-
10/27/2020 Capital Metro     Carolinas      70.49%       88.68%          77.13%
                             Norther
10/27/2020 Capital Metro     Virginia       60.74%       60.71%          83.14%
10/27/2020 Capital Metro     Richmond       82.57%       86.02%          88.61%

10/27/2020 Eastern           Appalachian    49.45%       36.23%          44.44%
                             Central
                             Pennsylvani
10/27/2020 Eastern           a              56.16%       21.86%              1.79%

10/27/2020 Eastern           Kentuckiana    55.59%        8.51%          86.97%
                             Norther
10/27/2020 Eastern           Ohio           91.43%        3.80%              0.34%

10/27/2020 Eastern           Ohio Valley    94.81%       34.43%          26.86%
                             Philadelphia
10/27/2020 Eastern           Metropo        96.06%       85.74%              0.00%

10/27/2020 Eastern           South Jersey   96.71%       99.76%           0.12%
10/27/2020 Eastern           Tennessee      91.97%       55.56%          72.33%
                             Western
10/27/2020 Eastern           New York       98.19%       94.23%          77.42%
                             Western
                             Pennsylvani
10/27/2020 Eastern           a              97.25%       97.41%          95.14%
                             Central
10/27/2020   Great Lakes     Illinois       85.02%        7.26%          98.67%
10/27/2020   Great Lakes     Chicago        90.04%       64.44%          16.53%
10/27/2020   Great Lakes     Detroit        48.63%       32.14%           0.80%
10/27/2020   Great Lakes     Gateway        80.00%       38.03%          22.88%
           Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 8 of 23


10/29/2020 Nation                          95.01%         94.67%          75.61%
                           Greater
10/27/2020 Great Lakes     Indiana         40.64%         62.50%          14.42%
                           Greater
10/27/2020   Great Lakes   Michigan        55.01%          0.86%           0.10%
10/27/2020   Great Lakes   Lakeland        52.54%         82.50%           3.04%
10/27/2020   Northeast     Albany          82.33%         50.00%          47.37%
10/27/2020   Northeast     Caribbean       99.57%         26.56%          66.67%
                           Connecticut
10/27/2020 Northeast       Valley          75.25%         56.00%              8.00%
                           Greater
10/27/2020 Northeast       Boston          93.70%         91.19%          92.18%

10/27/2020 Northeast       Long Island     97.16%         80.56%           5.75%
10/27/2020 Northeast       New York        94.94%         19.35%          98.24%
                           Northern
                           New
10/27/2020 Northeast       England         54.29%         66.67%              1.99%

                           Northern
10/27/2020 Northeast       New Jersey      97.51%         99.96%           0.62%
10/27/2020 Northeast       Triboro         95.52%         32.00%          86.55%

10/27/2020 Northeast       Westchester     70.43%         83.33%          81.25%
10/27/2020 Pacific         Bay-Valley      99.08%         51.72%          94.31%
10/27/2020 Pacific         Honolulu        96.43%         91.30%          97.00%

10/27/2020 Pacific         Los Angeles     99.22%         16.40%          73.42%

10/27/2020 Pacific         Sacramento      97.93%         42.86%          34.68%
10/27/2020 Pacific         San Diego       99.13%         10.86%          98.05%
                           San
10/27/2020 Pacific         Francisco       99.33%         84.62%          96.37%
10/27/2020 Pacific         Santa Ana       99.14%         24.44%          96.49%
                           Sierra
10/27/2020   Pacific       Coastal         98.72%         98.55%          93.36%
10/27/2020   Southern      Alabama         50.85%         42.86%           3.86%
10/27/2020   Southern      Arkansas        66.02%         80.00%           1.52%
10/27/2020   Southern      Dallas          85.19%         61.54%           0.87%
10/27/2020   Southern      Ft. Worth       73.74%         27.45%           2.52%

10/27/2020   Southern      Gulf Atlantic   84.80%         14.93%          87.22%
10/27/2020   Southern      Houston         74.95%         70.00%           9.33%
10/27/2020   Southern      Louisiana       63.42%         79.17%          11.02%
10/27/2020   Southern      Mississippi     83.95%        100.00%           3.60%
10/27/2020   Southern      Oklahoma        60.34%         27.27%           4.62%
10/27/2020   Southern      Rio Grande      84.46%         45.90%           5.75%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 9 of 23


10/29/2020 Nation                           95.01%       94.67%          75.61%
                             South
10/27/2020   Southern        Florida        94.50%       83.56%          95.13%
10/27/2020   Southern        Suncoast       97.13%       90.93%           8.59%
10/27/2020   Western         Alaska         81.23%       20.00%          49.43%
10/27/2020   Western         Arizona        98.35%       18.66%          46.18%
                             Central
10/27/2020 Western           Plains         95.62%       52.94%          96.92%
                             Colorado/W
10/27/2020 Western           yoming         77.12%        1.32%              1.67%
10/27/2020 Western           Dakotas        92.66%       20.00%              2.77%
10/27/2020 Western           Hawkeye        97.70%       72.73%              0.09%
                             Mid-
10/27/2020 Western           Americas       95.01%       41.18%              0.08%
                             Nevada
10/27/2020 Western           Sierra         97.69%       25.00%          33.07%
10/27/2020 Western           Northland      95.48%       86.87%          82.91%
10/27/2020 Western           Portland       97.79%        6.44%          44.36%
                             Salt Lake
10/27/2020   Western         City           88.99%        8.16%          47.13%
10/27/2020   Western         Seattle        98.09%        6.57%          28.47%
10/28/2020   Capital Metro   Atlanta        94.97%        3.76%          21.43%
10/28/2020   Capital Metro   Baltimore      94.19%       54.75%           2.42%
10/28/2020   Capital Metro   Capital        96.44%        8.42%          41.89%
                             Greater S
10/28/2020 Capital Metro     Carolina       91.10%        8.00%              6.77%

10/28/2020 Capital Metro     Greensboro     90.91%       66.22%          97.46%
                             Mid-
10/28/2020 Capital Metro     Carolinas      90.07%       56.97%          12.39%
                             Norther
10/28/2020 Capital Metro     Virginia       97.03%       23.75%          27.27%
10/28/2020 Capital Metro     Richmond       96.90%        3.33%           6.40%

10/28/2020 Eastern           Appalachian    88.78%       31.25%          22.64%
                             Central
                             Pennsylvani
10/28/2020 Eastern           a              83.25%       16.10%          82.01%

10/28/2020 Eastern           Kentuckiana    59.96%       46.15%          28.41%
                             Norther
10/28/2020 Eastern           Ohio           97.63%       20.00%              1.41%

10/28/2020 Eastern           Ohio Valley    97.97%       22.76%          87.62%
                             Philadelphia
10/28/2020 Eastern           Metropo        96.70%       42.64%              0.29%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 10 of 23


10/29/2020 Nation                         95.01%         94.67%          75.61%

10/28/2020 Eastern         South Jersey   97.45%         98.26%           0.18%
10/28/2020 Eastern         Tennessee      94.08%         58.33%           7.41%
                           Western
10/28/2020 Eastern         New York       98.53%          6.67%           1.15%
                           Western
                           Pennsylvani
10/28/2020 Eastern         a              98.52%         97.67%          23.53%
                           Central
10/28/2020   Great Lakes   Illinois       96.12%          3.06%          76.10%
10/28/2020   Great Lakes   Chicago        95.89%         66.67%          42.84%
10/28/2020   Great Lakes   Detroit        78.91%         63.83%          99.89%
10/28/2020   Great Lakes   Gateway        95.67%         56.04%          39.59%
                           Greater
10/28/2020 Great Lakes     Indiana        86.16%         74.67%          92.00%
                           Greater
10/28/2020   Great Lakes   Michigan       95.50%          1.82%          43.75%
10/28/2020   Great Lakes   Lakeland       92.83%         14.58%          69.47%
10/28/2020   Northeast     Albany         98.31%         66.67%           1.66%
10/28/2020   Northeast     Caribbean      99.50%                          0.00%
                           Connecticut
10/28/2020 Northeast       Valley         98.12%         41.18%          71.99%
                           Greater
10/28/2020 Northeast       Boston         97.73%         27.42%          28.92%

10/28/2020 Northeast       Long Island    99.00%        100.00%          12.50%
10/28/2020 Northeast       New York       97.35%         83.33%           7.32%
                           Northern
                           New
10/28/2020 Northeast       England        82.41%          3.92%           5.37%

                           Northern
10/28/2020 Northeast       New Jersey     97.28%         99.37%           0.06%
10/28/2020 Northeast       Triboro        88.14%         90.91%           2.65%

10/28/2020 Northeast       Westchester    97.89%         25.00%          16.48%
10/28/2020 Pacific         Bay-Valley     99.19%         12.50%          93.59%
10/28/2020 Pacific         Honolulu       98.96%         50.00%          92.73%

10/28/2020 Pacific         Los Angeles    98.87%         16.43%          81.18%

10/28/2020 Pacific         Sacramento     99.33%         85.85%          46.83%
10/28/2020 Pacific         San Diego      99.32%         99.88%          98.44%
                           San
10/28/2020 Pacific         Francisco      98.90%          0.00%          98.58%
10/28/2020 Pacific         Santa Ana      99.66%         99.15%          93.30%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 11 of 23


10/29/2020 Nation                            95.01%      94.67%          75.61%
                             Sierra
10/28/2020   Pacific         Coastal         98.83%      99.11%          98.93%
10/28/2020   Southern        Alabama         71.09%      18.75%           7.69%
10/28/2020   Southern        Arkansas        94.68%       0.00%          72.73%
10/28/2020   Southern        Dallas          93.87%       6.90%          27.59%
10/28/2020   Southern        Ft. Worth       95.11%       0.00%           8.14%

10/28/2020   Southern        Gulf Atlantic   93.99%      15.89%          97.16%
10/28/2020   Southern        Houston         95.04%      14.29%          45.95%
10/28/2020   Southern        Louisiana       65.43%     100.00%          38.24%
10/28/2020   Southern        Mississippi     91.48%      50.00%           0.00%
10/28/2020   Southern        Oklahoma        62.99%      50.00%          19.44%
10/28/2020   Southern        Rio Grande      91.65%       4.23%           8.60%
                             South
10/28/2020   Southern        Florida         94.97%      24.49%          97.47%
10/28/2020   Southern        Suncoast        96.43%      89.55%          90.26%
10/28/2020   Western         Alaska          93.76%      50.00%          99.89%
10/28/2020   Western         Arizona         98.07%      88.64%           1.15%
                             Central
10/28/2020 Western           Plains          96.49%      17.65%          51.51%
                             Colorado/W
10/28/2020 Western           yoming          78.74%       0.40%          43.82%
10/28/2020 Western           Dakotas         96.60%       4.55%          74.29%
10/28/2020 Western           Hawkeye         98.47%      40.00%           0.28%
                             Mid-
10/28/2020 Western           Americas        95.63%      69.23%           3.58%
                             Nevada
10/28/2020 Western           Sierra          98.03%      18.27%          64.10%
10/28/2020 Western           Northland       97.08%       0.36%          62.46%
10/28/2020 Western           Portland        98.12%      15.09%          69.64%
                             Salt Lake
10/28/2020   Western         City            98.09%      97.61%          48.39%
10/28/2020   Western         Seattle         98.25%       0.62%          31.65%
10/29/2020   Capital Metro   Atlanta         93.10%       2.24%          10.35%
10/29/2020   Capital Metro   Baltimore       95.63%      46.09%           8.53%
10/29/2020   Capital Metro   Capital         94.93%      36.26%          87.25%
                             Greater S
10/29/2020 Capital Metro     Carolina        77.48%      62.22%          24.12%

10/29/2020 Capital Metro     Greensboro      89.14%      88.93%          78.99%
                             Mid-
10/29/2020 Capital Metro     Carolinas       84.35%      14.83%          86.12%
                             Norther
10/29/2020 Capital Metro     Virginia        95.12%      19.33%          82.52%
10/29/2020 Capital Metro     Richmond        93.69%      83.33%          18.45%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 12 of 23


10/29/2020 Nation                         95.01%         94.67%          75.61%

10/29/2020 Eastern         Appalachian    89.50%         79.17%          69.77%
                           Central
                           Pennsylvani
10/29/2020 Eastern         a              69.17%         46.15%          22.03%

10/29/2020 Eastern         Kentuckiana    83.51%         22.06%          77.55%
                           Norther
10/29/2020 Eastern         Ohio           86.10%         86.57%           0.71%

10/29/2020 Eastern         Ohio Valley    95.49%         95.44%          86.71%
                           Philadelphia
10/29/2020 Eastern         Metropo        90.92%         99.19%           0.03%

10/29/2020 Eastern         South Jersey   95.44%         99.71%           0.12%
10/29/2020 Eastern         Tennessee      96.43%         23.70%          62.38%
                           Western
10/29/2020 Eastern         New York       96.68%         66.67%          99.11%
                           Western
                           Pennsylvani
10/29/2020 Eastern         a              97.25%         99.41%          96.77%
                           Central
10/29/2020   Great Lakes   Illinois       96.83%         98.92%          79.02%
10/29/2020   Great Lakes   Chicago        95.26%         80.00%          85.81%
10/29/2020   Great Lakes   Detroit        76.23%         95.79%          99.83%
10/29/2020   Great Lakes   Gateway        93.20%         60.45%          61.90%
                           Greater
10/29/2020 Great Lakes     Indiana        83.22%         75.41%          83.92%
                           Greater
10/29/2020   Great Lakes   Michigan       89.15%         97.64%          27.43%
10/29/2020   Great Lakes   Lakeland       93.71%         90.16%          94.13%
10/29/2020   Northeast     Albany         96.89%         78.57%          84.02%
10/29/2020   Northeast     Caribbean      99.78%                         80.00%
                           Connecticut
10/29/2020 Northeast       Valley         95.49%         42.55%          64.03%
                           Greater
10/29/2020 Northeast       Boston         92.46%         22.61%          52.06%

10/29/2020 Northeast       Long Island    96.99%         95.65%          60.18%
10/29/2020 Northeast       New York       97.08%         79.41%          87.59%
                           Northern
                           New
10/29/2020 Northeast       England        80.70%         64.71%          26.33%

                           Northern
10/29/2020 Northeast       New Jersey     97.54%         86.30%          49.37%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 13 of 23


10/29/2020 Nation                         95.01%         94.67%          75.61%
10/29/2020 Northeast    Triboro           92.35%         92.00%          96.05%

10/29/2020 Northeast    Westchester       95.92%         82.61%          96.66%
10/29/2020 Pacific      Bay-Valley        98.46%         59.46%          99.39%
10/29/2020 Pacific      Honolulu          91.47%         64.52%          95.74%

10/29/2020 Pacific      Los Angeles       98.35%         54.35%          61.72%

10/29/2020 Pacific      Sacramento        98.56%         97.00%          93.14%
10/29/2020 Pacific      San Diego         99.32%         98.50%          25.14%
                        San
10/29/2020 Pacific      Francisco         98.87%         65.79%          98.89%
10/29/2020 Pacific      Santa Ana         98.58%         99.22%          53.52%
                        Sierra
10/29/2020   Pacific    Coastal           98.56%         35.00%          90.66%
10/29/2020   Southern   Alabama           88.99%         66.67%           6.55%
10/29/2020   Southern   Arkansas          97.68%         85.71%          83.33%
10/29/2020   Southern   Dallas            95.32%         55.17%          35.25%
10/29/2020   Southern   Ft. Worth         94.37%         99.34%          95.87%

10/29/2020   Southern   Gulf Atlantic     95.80%         33.33%          93.69%
10/29/2020   Southern   Houston           96.32%         84.62%          31.78%
10/29/2020   Southern   Louisiana         92.65%         90.00%          93.87%
10/29/2020   Southern   Mississippi       93.22%         80.00%          23.88%
10/29/2020   Southern   Oklahoma          80.27%         75.00%          86.19%
10/29/2020   Southern   Rio Grande        94.17%         90.48%          63.22%
                        South
10/29/2020   Southern   Florida           96.09%         56.67%          97.00%
10/29/2020   Southern   Suncoast          97.94%         25.90%          76.36%
10/29/2020   Western    Alaska            83.11%         80.00%          99.80%
10/29/2020   Western    Arizona           98.43%         88.14%          38.46%
                        Central
10/29/2020 Western      Plains            93.88%         29.82%          56.00%
                        Colorado/W
10/29/2020 Western      yoming            69.90%         53.73%          69.18%
10/29/2020 Western      Dakotas           97.53%         35.48%          96.27%
10/29/2020 Western      Hawkeye           97.65%         60.00%          31.53%
                        Mid-
10/29/2020 Western      Americas          95.05%         68.42%          16.37%
                        Nevada
10/29/2020 Western      Sierra            98.15%         25.64%          99.08%
10/29/2020 Western      Northland         84.11%         45.45%          52.51%
10/29/2020 Western      Portland          97.46%         28.38%          84.28%
                        Salt Lake
10/29/2020 Western      City              97.61%         98.54%          94.83%
10/29/2020 Western      Seattle           98.12%         11.82%          86.89%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 14 of 23


10/29/2020   Nation                         95.01%       94.67%          75.61%
10/30/2020   Capital Metro   Atlanta        78.22%        3.42%          60.33%
10/30/2020   Capital Metro   Baltimore      90.83%        2.43%          10.24%
10/30/2020   Capital Metro   Capital        92.51%       23.26%          91.36%
                             Greater S
10/30/2020 Capital Metro     Carolina       81.95%       17.72%          51.86%

10/30/2020 Capital Metro     Greensboro     80.82%        0.83%          88.16%
                             Mid-
10/30/2020 Capital Metro     Carolinas      77.29%       15.38%          34.31%
                             Norther
10/30/2020 Capital Metro     Virginia       91.76%       88.24%          94.48%
10/30/2020 Capital Metro     Richmond       90.87%       88.89%          78.81%

10/30/2020 Eastern           Appalachian    89.77%       21.05%          96.49%
                             Central
                             Pennsylvani
10/30/2020 Eastern           a              64.05%        0.85%          26.36%

10/30/2020 Eastern           Kentuckiana    72.45%       66.67%          68.92%
                             Norther
10/30/2020 Eastern           Ohio           94.97%       16.48%          19.67%

10/30/2020 Eastern           Ohio Valley    93.75%       27.81%          77.35%
                             Philadelphia
10/30/2020 Eastern           Metropo        86.91%       98.88%          13.18%

10/30/2020 Eastern           South Jersey   92.51%       35.27%          39.18%
10/30/2020 Eastern           Tennessee      91.45%       79.03%          74.07%
                             Western
10/30/2020 Eastern           New York       97.07%      100.00%          37.04%
                             Western
                             Pennsylvani
10/30/2020 Eastern           a              90.80%       99.22%          98.68%
                             Central
10/30/2020   Great Lakes     Illinois       88.44%       73.70%          39.11%
10/30/2020   Great Lakes     Chicago        91.44%       85.71%          69.01%
10/30/2020   Great Lakes     Detroit        77.04%       77.97%           9.27%
10/30/2020   Great Lakes     Gateway        89.97%       93.26%          41.56%
                             Greater
10/30/2020 Great Lakes       Indiana        60.80%       20.97%          93.08%
                             Greater
10/30/2020   Great Lakes     Michigan       86.04%       97.28%          71.95%
10/30/2020   Great Lakes     Lakeland       86.66%       73.68%          77.09%
10/30/2020   Northeast       Albany         95.96%       88.00%          25.09%
10/30/2020   Northeast       Caribbean      98.70%       85.71%          99.12%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 15 of 23


10/29/2020 Nation                         95.01%         94.67%          75.61%
                        Connecticut
10/30/2020 Northeast    Valley            91.28%         85.00%          70.93%
                        Greater
10/30/2020 Northeast    Boston            93.53%         78.57%          99.31%

10/30/2020 Northeast    Long Island       94.47%        100.00%          42.24%
10/30/2020 Northeast    New York          93.84%         94.59%          99.06%
                        Northern
                        New
10/30/2020 Northeast    England           72.98%         44.00%          96.90%

                        Northern
10/30/2020 Northeast    New Jersey        97.37%         95.65%          99.46%
10/30/2020 Northeast    Triboro           89.62%         70.37%          96.75%

10/30/2020 Northeast    Westchester       95.45%         78.57%          93.24%
10/30/2020 Pacific      Bay-Valley        98.29%         90.54%          97.01%
10/30/2020 Pacific      Honolulu          92.32%         94.74%          96.55%

10/30/2020 Pacific      Los Angeles       98.69%         93.00%          47.16%

10/30/2020 Pacific      Sacramento        98.26%         31.58%          86.96%
10/30/2020 Pacific      San Diego         97.99%         99.17%          93.70%
                        San
10/30/2020 Pacific      Francisco         96.32%         97.14%          98.01%
10/30/2020 Pacific      Santa Ana         98.73%         98.32%          65.41%
                        Sierra
10/30/2020   Pacific    Coastal           97.97%         42.62%          86.91%
10/30/2020   Southern   Alabama           75.03%         18.75%          87.44%
10/30/2020   Southern   Arkansas          92.39%         85.71%          99.04%
10/30/2020   Southern   Dallas            89.14%         87.50%          81.75%
10/30/2020   Southern   Ft. Worth         80.00%         77.27%          99.83%

10/30/2020   Southern   Gulf Atlantic     85.21%         34.62%          55.61%
10/30/2020   Southern   Houston           86.61%         35.56%          84.21%
10/30/2020   Southern   Louisiana         83.98%         70.00%          33.48%
10/30/2020   Southern   Mississippi       72.94%         66.67%          82.42%
10/30/2020   Southern   Oklahoma          63.33%         90.63%          97.85%
10/30/2020   Southern   Rio Grande        81.57%         84.38%          90.56%
                        South
10/30/2020   Southern   Florida           88.41%         60.00%          95.04%
10/30/2020   Southern   Suncoast          93.73%         89.98%          72.50%
10/30/2020   Western    Alaska            90.88%         38.46%          76.68%
10/30/2020   Western    Arizona           91.66%         89.84%          99.24%
                        Central
10/30/2020 Western      Plains            93.70%         70.27%          86.18%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 16 of 23


10/29/2020 Nation                           95.01%       94.67%          75.61%
                             Colorado/W
10/30/2020 Western           yoming         58.78%       92.35%          13.62%
10/30/2020 Western           Dakotas        94.27%       84.00%          90.96%
10/30/2020 Western           Hawkeye        95.09%       96.15%          86.19%
                             Mid-
10/30/2020 Western           Americas       90.59%       94.92%          63.13%
                             Nevada
10/30/2020 Western           Sierra         97.77%       32.33%          91.06%
10/30/2020 Western           Northland      93.06%       37.84%          80.16%
10/30/2020 Western           Portland       95.45%       78.95%          80.43%
                             Salt Lake
10/30/2020   Western         City           98.62%       85.85%          92.55%
10/30/2020   Western         Seattle        94.61%       34.39%          98.76%
10/31/2020   Capital Metro   Atlanta        57.17%        0.79%          45.24%
10/31/2020   Capital Metro   Baltimore      89.05%        5.88%          71.10%
10/31/2020   Capital Metro   Capital        91.69%       40.74%          87.47%
                             Greater S
10/31/2020 Capital Metro     Carolina       76.72%       25.00%          46.86%

10/31/2020 Capital Metro     Greensboro     77.90%        0.55%          84.67%
                             Mid-
10/31/2020 Capital Metro     Carolinas      75.81%       56.25%          45.02%
                             Norther
10/31/2020 Capital Metro     Virginia       76.55%       57.14%          82.89%
10/31/2020 Capital Metro     Richmond       84.73%        6.90%          95.06%

10/31/2020 Eastern           Appalachian    82.44%       81.82%          81.10%
                             Central
                             Pennsylvani
10/31/2020 Eastern           a              52.36%        3.16%          13.01%

10/31/2020 Eastern           Kentuckiana    66.92%       66.67%          96.97%
                             Norther
10/31/2020 Eastern           Ohio           92.42%        6.45%          57.67%

10/31/2020 Eastern           Ohio Valley    94.33%       61.29%          96.08%
                             Philadelphia
10/31/2020 Eastern           Metropo        77.39%       49.28%           6.48%

10/31/2020 Eastern           South Jersey   92.26%       98.23%          12.49%
10/31/2020 Eastern           Tennessee      84.16%       26.67%          97.22%
                             Western
10/31/2020 Eastern           New York       92.97%      100.00%          27.06%
                             Western
                             Pennsylvani
10/31/2020 Eastern           a              90.98%       97.16%          95.24%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 17 of 23


10/29/2020 Nation                          95.01%        94.67%          75.61%
                           Central
10/31/2020   Great Lakes   Illinois        89.96%         0.00%          86.52%
10/31/2020   Great Lakes   Chicago         88.32%        95.00%          89.34%
10/31/2020   Great Lakes   Detroit         78.01%        67.11%           2.26%
10/31/2020   Great Lakes   Gateway         87.17%        11.11%          98.08%
                           Greater
10/31/2020 Great Lakes     Indiana         53.90%        76.32%          89.70%
                           Greater
10/31/2020   Great Lakes   Michigan        68.61%        77.75%          81.90%
10/31/2020   Great Lakes   Lakeland        73.43%        71.43%          73.00%
10/31/2020   Northeast     Albany          94.96%         6.10%          91.07%
10/31/2020   Northeast     Caribbean       97.95%                        93.33%
                           Connecticut
10/31/2020 Northeast       Valley          92.04%        63.64%          53.18%
                           Greater
10/31/2020 Northeast       Boston          90.89%        35.00%          76.88%

10/31/2020 Northeast       Long Island     97.13%         1.92%          31.97%
10/31/2020 Northeast       New York        90.95%        61.54%          96.35%
                           Northern
                           New
10/31/2020 Northeast       England         61.61%         6.25%          76.18%

                           Northern
10/31/2020 Northeast       New Jersey      94.23%        13.77%          98.82%
10/31/2020 Northeast       Triboro         87.63%        69.57%          97.33%

10/31/2020 Northeast       Westchester     94.62%        21.43%          91.80%
10/31/2020 Pacific         Bay-Valley      97.85%        68.75%          96.42%
10/31/2020 Pacific         Honolulu        85.00%        95.65%          70.32%

10/31/2020 Pacific         Los Angeles     98.37%        64.29%          19.87%

10/31/2020 Pacific         Sacramento      97.07%        18.42%          67.20%
10/31/2020 Pacific         San Diego       98.10%        98.41%          79.94%
                           San
10/31/2020 Pacific         Francisco       96.02%        85.71%          98.51%
10/31/2020 Pacific         Santa Ana       98.89%        99.56%          63.81%
                           Sierra
10/31/2020   Pacific       Coastal         97.52%        37.50%          11.09%
10/31/2020   Southern      Alabama         62.56%         5.43%          86.06%
10/31/2020   Southern      Arkansas        85.58%        33.33%          98.44%
10/31/2020   Southern      Dallas          86.90%         6.82%          49.25%
10/31/2020   Southern      Ft. Worth       85.35%        62.07%          50.53%

10/31/2020 Southern        Gulf Atlantic   83.13%        50.00%          31.78%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 18 of 23


10/29/2020   Nation                        95.01%        94.67%          75.61%
10/31/2020   Southern        Houston       79.96%         3.45%          61.89%
10/31/2020   Southern        Louisiana     56.97%        14.29%          71.34%
10/31/2020   Southern        Mississippi   60.00%         0.00%          98.02%
10/31/2020   Southern        Oklahoma      70.73%        13.64%          98.94%
10/31/2020   Southern        Rio Grande    82.74%        60.00%          65.28%
                             South
10/31/2020   Southern        Florida       84.32%        66.67%          92.43%
10/31/2020   Southern        Suncoast      92.45%        15.53%          75.55%
10/31/2020   Western         Alaska        91.72%         0.00%          90.95%
10/31/2020   Western         Arizona       88.97%        63.90%          88.61%
                             Central
10/31/2020 Western           Plains        88.60%        31.58%          90.36%
                             Colorado/W
10/31/2020 Western           yoming        37.73%        11.07%           8.34%
10/31/2020 Western           Dakotas       87.88%        57.14%          77.61%
10/31/2020 Western           Hawkeye       94.19%        75.00%          76.22%
                             Mid-
10/31/2020 Western           Americas      79.23%        33.33%          89.64%
                             Nevada
10/31/2020 Western           Sierra        94.58%        27.59%          95.53%
10/31/2020 Western           Northland     74.56%        12.50%          79.25%
10/31/2020 Western           Portland      92.20%        20.69%          84.80%
                             Salt Lake
10/31/2020   Western         City          94.60%        19.42%          76.57%
10/31/2020   Western         Seattle       94.65%        12.71%          77.46%
 11/2/2020   Capital Metro   Atlanta       60.87%        10.38%          51.73%
 11/2/2020   Capital Metro   Baltimore     85.20%         1.90%          28.20%
 11/2/2020   Capital Metro   Capital       90.33%         6.38%          95.23%
                             Greater S
 11/2/2020 Capital Metro     Carolina      79.99%        41.30%          58.41%

 11/2/2020 Capital Metro     Greensboro    70.90%         6.30%          88.06%
                             Mid-
 11/2/2020 Capital Metro     Carolinas     74.16%        33.33%          91.04%
                             Norther
 11/2/2020 Capital Metro     Virginia      93.15%        24.00%          94.32%
 11/2/2020 Capital Metro     Richmond      89.64%        22.22%          77.52%

 11/2/2020 Eastern           Appalachian   73.17%        20.00%          86.81%
                             Central
                             Pennsylvani
 11/2/2020 Eastern           a             69.09%        96.93%          41.70%

 11/2/2020 Eastern           Kentuckiana   69.28%        25.93%          68.06%
                             Norther
 11/2/2020 Eastern           Ohio          88.22%        86.51%          42.80%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 19 of 23


10/29/2020 Nation                         95.01%         94.67%          75.61%

 11/2/2020 Eastern         Ohio Valley    93.36%          3.92%          74.93%
                           Philadelphia
 11/2/2020 Eastern         Metropo        79.23%          5.54%          47.70%

 11/2/2020 Eastern         South Jersey   89.18%         97.44%          56.70%
 11/2/2020 Eastern         Tennessee      87.96%         18.70%          83.32%
                           Western
 11/2/2020 Eastern         New York       94.92%         43.75%          78.96%
                           Western
                           Pennsylvani
 11/2/2020 Eastern         a              91.66%         33.94%          97.66%
                           Central
 11/2/2020   Great Lakes   Illinois       91.35%          0.00%          27.60%
 11/2/2020   Great Lakes   Chicago        70.39%         19.05%          99.41%
 11/2/2020   Great Lakes   Detroit        77.51%          2.26%          55.49%
 11/2/2020   Great Lakes   Gateway        82.85%         14.81%          72.89%
                           Greater
 11/2/2020 Great Lakes     Indiana        66.34%         40.48%          72.22%
                           Greater
 11/2/2020   Great Lakes   Michigan       86.80%          2.17%          55.18%
 11/2/2020   Great Lakes   Lakeland       80.66%          0.91%          24.01%
 11/2/2020   Northeast     Albany         95.07%         18.60%          92.97%
 11/2/2020   Northeast     Caribbean      96.34%          0.71%          96.84%
                           Connecticut
 11/2/2020 Northeast       Valley         93.12%         62.50%          94.76%
                           Greater
 11/2/2020 Northeast       Boston         90.55%         62.07%          81.92%

 11/2/2020 Northeast       Long Island    95.08%         54.55%          87.89%
 11/2/2020 Northeast       New York       96.22%         13.02%          88.25%
                           Northern
                           New
 11/2/2020 Northeast       England        72.44%          9.26%          64.76%

                           Northern
 11/2/2020 Northeast       New Jersey     96.04%         98.07%          98.56%
 11/2/2020 Northeast       Triboro        86.10%         21.21%          90.24%

 11/2/2020 Northeast       Westchester    91.12%          8.00%          93.45%
 11/2/2020 Pacific         Bay-Valley     95.32%         20.45%          99.15%
 11/2/2020 Pacific         Honolulu       75.97%         16.67%          95.84%

 11/2/2020 Pacific         Los Angeles    96.94%         42.86%          29.99%

 11/2/2020 Pacific         Sacramento     92.85%         12.00%          99.07%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 20 of 23


10/29/2020 Nation                            95.01%      94.67%          75.61%
 11/2/2020 Pacific           San Diego       97.75%       9.89%          99.75%
                             San
 11/2/2020 Pacific           Francisco       96.16%      37.93%          97.60%
 11/2/2020 Pacific           Santa Ana       98.59%      42.27%          99.63%
                             Sierra
 11/2/2020   Pacific         Coastal         96.85%       7.69%          93.31%
 11/2/2020   Southern        Alabama         68.66%       0.21%          48.50%
 11/2/2020   Southern        Arkansas        87.15%      16.67%          95.15%
 11/2/2020   Southern        Dallas          90.71%      25.00%          38.76%
 11/2/2020   Southern        Ft. Worth       82.31%      75.00%          71.94%

 11/2/2020   Southern        Gulf Atlantic   78.61%      31.58%          54.43%
 11/2/2020   Southern        Houston         80.67%       0.00%          40.97%
 11/2/2020   Southern        Louisiana       70.40%      20.69%          66.27%
 11/2/2020   Southern        Mississippi     80.67%       3.85%          90.02%
 11/2/2020   Southern        Oklahoma        82.31%      54.55%          84.66%
 11/2/2020   Southern        Rio Grande      82.18%      47.83%          92.98%
                             South
 11/2/2020   Southern        Florida         73.43%      15.44%          69.85%
 11/2/2020   Southern        Suncoast        90.02%      26.70%          96.11%
 11/2/2020   Western         Alaska          79.59%      66.67%           2.84%
 11/2/2020   Western         Arizona         82.24%      13.88%          90.26%
                             Central
 11/2/2020 Western           Plains          86.14%       0.00%          97.76%
                             Colorado/W
 11/2/2020 Western           yoming          53.15%       2.43%          43.02%
 11/2/2020 Western           Dakotas         90.06%      40.00%          94.88%
 11/2/2020 Western           Hawkeye         94.34%      57.14%          71.57%
                             Mid-
 11/2/2020 Western           Americas        81.52%       0.62%          91.24%
                             Nevada
 11/2/2020 Western           Sierra          96.99%       5.56%          80.91%
 11/2/2020 Western           Northland       86.89%       9.52%          83.47%
 11/2/2020 Western           Portland        93.67%       9.41%          69.24%
                             Salt Lake
 11/2/2020   Western         City            96.46%       4.17%          66.41%
 11/2/2020   Western         Seattle         94.88%      10.65%          85.68%
 11/3/2020   Capital Metro   Atlanta         82.17%       0.00%          16.13%
 11/3/2020   Capital Metro   Baltimore       90.64%       0.00%           1.81%
 11/3/2020   Capital Metro   Capital         91.10%       0.00%           1.89%
                             Greater S
 11/3/2020 Capital Metro     Carolina        71.96%       8.33%          13.20%

 11/3/2020 Capital Metro     Greensboro      72.92%       0.00%          69.98%
                             Mid-
 11/3/2020 Capital Metro     Carolinas       80.01%       0.00%          90.01%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 21 of 23


10/29/2020 Nation                         95.01%         94.67%          75.61%
                           Norther
 11/3/2020 Capital Metro   Virginia       93.14%          0.00%          70.45%
 11/3/2020 Capital Metro   Richmond       85.76%         25.00%          10.09%

 11/3/2020 Eastern         Appalachian    42.79%          0.00%           3.46%
                           Central
                           Pennsylvani
 11/3/2020 Eastern         a              61.26%          0.00%           2.67%

 11/3/2020 Eastern         Kentuckiana    62.98%          0.00%          43.22%
                           Norther
 11/3/2020 Eastern         Ohio           92.53%          0.00%           3.13%

 11/3/2020 Eastern         Ohio Valley    94.89%          0.00%          24.75%
                           Philadelphia
 11/3/2020 Eastern         Metropo        66.83%          0.00%           2.77%

 11/3/2020 Eastern         South Jersey   96.60%         75.00%           3.19%
 11/3/2020 Eastern         Tennessee      82.00%          0.00%          81.36%
                           Western
 11/3/2020 Eastern         New York       92.59%                          6.19%
                           Western
                           Pennsylvani
 11/3/2020 Eastern         a              90.92%          0.00%          39.19%
                           Central
 11/3/2020   Great Lakes   Illinois       93.30%          0.00%          29.38%
 11/3/2020   Great Lakes   Chicago        63.63%          0.00%          99.17%
 11/3/2020   Great Lakes   Detroit        78.86%          0.00%           2.27%
 11/3/2020   Great Lakes   Gateway        68.03%          0.00%          80.79%
                           Greater
 11/3/2020 Great Lakes     Indiana        70.79%         80.00%          11.31%
                           Greater
 11/3/2020   Great Lakes   Michigan       84.01%          0.00%           5.94%
 11/3/2020   Great Lakes   Lakeland       76.18%                         46.54%
 11/3/2020   Northeast     Albany         91.31%                         13.25%
 11/3/2020   Northeast     Caribbean      98.63%                         23.53%
                           Connecticut
 11/3/2020 Northeast       Valley         93.15%                         68.42%
                           Greater
 11/3/2020 Northeast       Boston         94.39%          0.00%          21.01%

 11/3/2020 Northeast       Long Island    97.30%                         27.78%
 11/3/2020 Northeast       New York       95.39%                        100.00%
                           Northern
                           New
 11/3/2020 Northeast       England        74.47%                         17.13%
          Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 22 of 23


10/29/2020 Nation                         95.01%         94.67%          75.61%

                        Northern
 11/3/2020 Northeast    New Jersey        93.22%         16.44%          71.43%
 11/3/2020 Northeast    Triboro           91.35%                         74.00%

 11/3/2020 Northeast    Westchester       91.89%                         76.00%
 11/3/2020 Pacific      Bay-Valley        96.45%                         23.08%
 11/3/2020 Pacific      Honolulu          94.38%                         75.00%

 11/3/2020 Pacific      Los Angeles       98.62%                         12.53%

 11/3/2020 Pacific      Sacramento        98.38%          0.00%           9.54%
 11/3/2020 Pacific      San Diego         99.26%          0.00%          25.75%
                        San
 11/3/2020 Pacific      Francisco         99.00%                         97.57%
 11/3/2020 Pacific      Santa Ana         98.08%         75.00%          70.02%
                        Sierra
 11/3/2020   Pacific    Coastal           99.08%                          2.78%
 11/3/2020   Southern   Alabama           71.95%          0.00%           5.80%
 11/3/2020   Southern   Arkansas          77.84%                         77.42%
 11/3/2020   Southern   Dallas            88.54%          0.00%          14.66%
 11/3/2020   Southern   Ft. Worth         87.63%          0.00%          18.18%

 11/3/2020   Southern   Gulf Atlantic     83.02%          5.88%           5.07%
 11/3/2020   Southern   Houston           84.47%          0.00%           7.45%
 11/3/2020   Southern   Louisiana         77.68%          0.00%           3.29%
 11/3/2020   Southern   Mississippi       85.02%          0.00%          11.04%
 11/3/2020   Southern   Oklahoma          75.85%                         76.47%
 11/3/2020   Southern   Rio Grande        85.62%          0.00%          22.36%
                        South
 11/3/2020   Southern   Florida           85.12%         50.00%           0.36%
 11/3/2020   Southern   Suncoast          85.43%         27.27%          55.79%
 11/3/2020   Western    Alaska            87.47%                         39.06%
 11/3/2020   Western    Arizona           91.77%          0.00%          44.82%
                        Central
 11/3/2020 Western      Plains            92.15%                         69.64%
                        Colorado/W
 11/3/2020 Western      yoming            55.59%         11.54%          83.56%
 11/3/2020 Western      Dakotas           77.95%                         17.56%
 11/3/2020 Western      Hawkeye           92.29%                          3.75%
                        Mid-
 11/3/2020 Western      Americas          87.38%         11.11%          17.74%
                        Nevada
 11/3/2020 Western      Sierra            99.12%                         75.00%
 11/3/2020 Western      Northland         53.93%                         83.97%
 11/3/2020 Western      Portland          96.52%          0.00%          58.14%
         Case 1:20-cv-02405-EGS Document 78-3 Filed 11/04/20 Page 23 of 23


10/29/2020 Nation                        95.01%         94.67%          75.61%
                      Salt Lake
 11/3/2020 Western    City               83.36%          0.00%          21.52%
 11/3/2020 Western    Seattle            98.63%         50.00%          27.48%
